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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )            Case No. 8:05CR138
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )                   ORDER
                                             )
GUSTAVO AMBRIZ-SALDANA,                      )
                                             )
                     Defendant.              )


       IT IS ORDERED that a change of plea for the defendant, Gustavo Ambriz-Saldana,

is scheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska

U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on December 29, 2005, at

10:00 a.m. Since this is a criminal case, the defendant shall be present, unless excused

by the court. If an interpreter is required, one must be requested by the plaintiff in writing

five (5) days in advance of the scheduled hearing.

       DATED this 21st day of December, 2005.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
